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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                      )
                                              )
   v.                                         )       USDC No. 21-cr-292-02 (RCL)
                                              )
Daniel Scott, defendant                       )

                UNOPPOSED MOTION TO CONTINUE SENTENCING

        Defendant, through undersigned counsel Nathan I. Silver, II, Esq., (“counsel”) appointed

by this Court under the Criminal Justice Act, with no opposition from the United States, moves

the Court to continue the in-person sentencing from May 23, 2023, at 3 o’clock p.m., for a

period of forty-five (75) days, for the following reason.

        Counsel is scheduled for hip replacement surgery on Wednesday, May 3, 2023. The

recovery period may last from four to six weeks. Counsel is not confident that he will be able to

prepare the defendant’s sentencing memorandum during that time, nor that he will be in shape to

appear in-person for the sentencing, as this hearing must be conducted. Counsel’s surgery was

scheduled after Feb. 9, 2023, the taking of the plea, and it was not anticipated at the time of the

plea.

        The defendant requests a continuance of forty-five (45) to accommodate the

government’s availability for sentencing. Asst. U.S. Attorney William K. Dreher will be on leave

from June 4 to June 30, and will not be available to appear in person during that time.

        The defendant requests that the sentencing be set in the afternoon, which will permit him

to travel from his residence in Florida and appear the same day. He will seek permission to
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self-surrender, which would also allow him, if the Court so approves, to return to Florida

following the completion of the sentencing hearing.1

           In the circumstances, the defendant moves the Court to continue the sentencing.

           A proposed Order is attached.

           WHEREFORE, the defendant respectfully moves the Court to grant said relief.

                                                This pleading is,

                                              Respectfully submitted,

                                                         /s/

                                                NATHAN I. SILVER, II
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                                            CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF on
assistant U.S. Attorneys William K. Dreher, Esq., and Alexis J. Loeb, Esq., attorneys of record
for the government, this 1st day of May , 2023.

                                                          /s/
                                                _______________________________
                                                Nathan I. Silver, II




1
    Counsel will not be available on Friday, July 7, but is otherwise available the first two weeks of July, 2023
